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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                    CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                              §
                                                       §
        Plaintiff-Respondent,                          §
                                                       §
v.                                                     §             Cr. No. C-02-310 (1)
                                                       §             C.A. No. C-05-076
MARIA MAGDALENA MALDONADO,                             §
                                                       §
        Defendant-Movant.                              §

                        ORDER DENYING MOTION TO VACATE,
                       SET ASIDE, OR CORRECT SENTENCE AND
                    ORDER DENYING CERTIFICATE OF APPEALABILITY

        Pending before the Court is Maria Magdalena Maldonado’s (“Maldonado”) motion to vacate,

set aside, or correct her sentence pursuant to 28 U.S.C. § 2255 (D.E. 68).1 Also before the Court is

the government’s response, which moves to dismiss, or in the alternative, for summary judgment.

(D.E. 73). For the reasons set forth herein, the Court DENIES Maldonado’s § 2255 motion and

DENIES her a Certificate of Appealability.

                                            I. JURISDICTION

        The Court has jurisdiction in this matter under 28 U.S.C. § 2255.

                       II. FACTUAL AND PROCEDURAL BACKGROUND

A.      Offense Conduct2

        On October 18, 2002, Maldonado drove her 1999 Ford pickup truck into the primary

inspection lane at the Sarita, Texas Border Patrol Checkpoint. A Border Patrol agent observed

Maldonado’s sister and co-defendant, Anna Maria Gonzalez (“Gonzalez”), sitting in the passenger

        1
                 Docket entries refer to the criminal case, CR. No. C-02-310(1).
        2
                 Unless otherwise noted, the description of the offense conduct is taken from the Presentence
Investigation Report (“PSR”).
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seat, and three small children sitting in the backseat. According to the agent, both adult passengers

appeared to be nervous. Their story sounded suspicious to the agent, and Maldonado was wearing

a jacket, which was inconsistent with the hot temperature that day. Additionally, Gonzalez was

wearing clothing too large for her body size. Based on the above facts, the agent requested and

received consent to further inspect the vehicle in the secondary inspection area.

        Once in the secondary area, Maldonado and Gonzalez were instructed to exit the vehicle. As

Gonzalez did so, several agents noticed that she had something square under her shirt and was holding

her stomach. An agent requested that Gonzalez lift her hands, and she refused. Upon a second request,

Gonzalez raised her hands and two plastic bundles containing cocaine fell from beneath her shirt. The

cocaine had a net weight of two (2) kilograms and a purity of 89%.

        The agents subsequently searched Maldonado and discovered three bundles of cocaine

concealed in a waist strap. The cocaine had a net weight of three (3) kilograms and a purity of 86%.

Both Maldonado and Gonzalez told the agents that they knew the substance was cocaine. Both were

arrested.

B.      Criminal Proceedings

        On November 13, 2002, Maldonado was charged in a two-count indictment with: (1) aiding,

abetting, and assisting others known and unknown to knowingly and intentionally possess with intent

to distribute approximately six kilograms of cocaine, in violation of 18 U.S.C. § 2 and 21 U.S.C. §§

841(a)(1) and 841(b)(1)(A)(“Count One”); and (2) knowingly and intentionally conspiring to possess

with intent to distribute approximately six kilograms of cocaine, in violation of 21 U.S.C. §§

841(a)(1), 841(b)(1)(A), and 846 (“Count Two”). (D.E. 1).3 Maldonado pleaded guilty to Count One


        3
                  The indictment referenced six kilograms of cocaine, and the Court’s reference to the indictment
at the rearraignment mentioned six kilograms. (D.E. 60 at 13; but see D.E. 60 at 15, 30 (referencing five

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pursuant to a written plea agreement, and this Court accepted her guilty plea at her rearraignment on

December 18, 2002. (D.E. 12, 13).

        Pursuant to the Court’s instructions, the probation department prepared a Presentence

Investigation Report (“PSR”). The PSR calculated Maldonado’s base offense level as 32, and

adjusted the offense downward by three levels for acceptance of responsibility. The resulting total

offense level, therefore, was 29. (See PSR at ¶¶ 9-18). Maldonado had no criminal history points,

so her criminal history category was I. This resulted in a guideline term of imprisonment of 87 to 108

months. Pursuant to USSG § 5G1.1(b), however, the statutorily required minimum sentence is the

guideline sentence where it is greater than the maximum of the applicable guideline range. Thus,

Maldonado’s guideline sentence was 120 months. (PSR at ¶ 31).

        Maldonado, through retained counsel, filed objections to the PSR. Maldonado’s sentencing

counsel objected to the amount of drugs attributed to Maldonado, which he contended had a net weight

of only five kilograms, although six kilograms was the amount cited in the indictment.4 He also

objected to Maldonado not receiving a two-point adjustment for playing a minor role in the offense.

Finally, he also argued that she qualified for the safety valve provision because she met the criteria

of USSG § 5C1.2. (D.E. 37).

        Maldonado’s sentencing was held on March 14, 2003. At sentencing, the Court heard

testimony from Maldonado and denied her safety valve relief, finding that she had not truthfully

debriefed, and therefore did not meet the requirements of 18 U.S.C. § 3553(f)(5). (D.E. 59,



kilograms)). The net weight of the cocaine was determined to be slightly over five kilograms, however, and
Maldonado was sentenced based on this amount. (See PSR at ¶¶ 4, 8). Thus, throughout this Order, the Court will
refer to the five kilograms, despite the indictment’s reference to six.
        4
                 See supra note 3. Notably, Maldonado’s base offense level would have been the same whether
she was sentenced based on five kilograms or six kilograms.

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Sentencing Transcript, “S. Tr.” at 25-28). The Court did not address whether Maldonado was entitled

to a minor role reduction, because even with the reduction, the 120-month mandatory minimum

sentence would apply. (S. Tr. at 28). Similarly, Maldonado’s counsel did not press his objection

concerning the amount of the drugs, because it would not have made a difference in the offense level.

(S. Tr. at 4-5). This Court sentenced Maldonado to a 120-month term of imprisonment in the custody

of the Bureau of Prisons, to be followed by a five-year term of supervised release, and imposed a

$100 fine and a $100 special assessment. (D.E. 40; 44). Judgment of conviction and sentence was

entered on September 6, 2002. (D.E. 44). Maldonado timely appealed. (D.E. 45, 47).

        In her appeal, Maldonado challenged the district court’s determination that she did not qualify

for the safety valve provision. In a per curiam opinion issued February 9, 2004, the Fifth Circuit

affirmed, finding that this Court’s “factual finding that Maldonado had not been sufficiently truthful ‘is

plausible in light of the record as a whole.’” (D.E. 65). The Fifth Circuit’s judgment was issued as

mandate on March 2, 2004. Maldonado did not file a petition for writ of certiorari.

        On February 14, 2005, the Clerk of this Court received Maldonado’s motion for relief pursuant

to § 2255. (D.E. 68). It is timely.

                                 III. MOVANT’S ALLEGATIONS

        In her motion, Maldonado asserts three grounds for relief. First, she argues that she was not

properly sentenced “because the Government and Court failed to seek Individualized Findings for each

defendant’s responsibility in the offense.” (D.E. 68 at 3). Specifically, she claims that she should

have been sentenced based on only three kilograms of cocaine, the amount that she was carrying on

her person at the time of her arrest. She contends that she should not have been held responsible for

the additional two kilograms being carried by Gonzalez. Second, she argues that her sentence is

unconstitutional because it violates United States v. Booker, 125 S. Ct. 738 (2005) and violates the

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plea agreement. Third, she argues that she was denied effective assistance of counsel due to various

alleged errors of counsel, including a failure to seek a severance, a failure to challenge the sufficiency

of the indictment, a failure to protect her interests in the plea agreement, and a failure to seek an

evidentiary hearing at sentencing. 5

        As discussed in detail herein, none of Maldonado’s grounds entitle her to relief.

                                            IV. DISCUSSION

A.      28 U.S.C. § 2255

        There are four cognizable grounds upon which a federal prisoner may move to vacate, set

aside or correct his sentence: (1) constitutional issues, (2) challenges to the district court’s

jurisdiction to impose the sentence, (3) challenges to the length of a sentence in excess of the statutory

maximum, and (4) claims that the sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255;

United States v. Placente, 81 F.3d 555, 558 (5th Cir. 1996). “Relief under 28 U.S.C. § 2255 is

reserved for transgressions of constitutional rights and for a narrow range of injuries that could not

have been raised on direct appeal and would, if condoned, result in a complete miscarriage of

justice.” United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992). “[A] collateral challenge may

not do service for an appeal.” United States v. Frady, 456 U.S. 152, 165 (1982).

B.      Alleged Misapplication of the Sentencing Guidelines

        To the extent that Maldonado is arguing that her sentence was based on a larger amount of

cocaine than was proper, her argument is essentially a claim that the Court erred in its application of

the guidelines.



        5
                 Maldonado was represented initially by attorney Jose Gonzalez-Falla. Shortly before sentencing
she retained new counsel, Jose Luis Ramos. Thus, the first three alleged errors identified presumably were made
by Mr. Gonzalez-Falla. The fourth, which allegedly occurred at sentencing, presumably was made by Mr. Ramos.

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          As an initial matter, to the extent that Maldonado failed to raise this sentencing complaint on

direct appeal, her allegation is procedurally barred from consideration here. See United States v.

Lopez, 248 F.3d 427, 433 (5th Cir. 2001); United States v. Kallestad, 236 F.3d 225, 227 (5th Cir.

2000). A district court may consider a defaulted claim only if the petitioner can demonstrate either

(1) cause for her default and actual prejudice or (2) that she is factually innocent of the crime charged.

Bousley v. United States, 523 U.S. 614, 622 (1998); United States v. Jones, 172 F.3d 381, 384 (5th

Cir. 1999). In this case, Maldonado does not argue that she is actually innocent. Further, she offers

no explanation as to why she failed to raise this issue on appeal. Her claim is thus procedurally

barred.

          Moreover, misapplication of the sentencing guidelines is not a cognizable claim in a § 2255

motion. United States v. Williamson, 183 F.3d 458, 462 (5th Cir. 1999). Therefore, Maldonado’s

claim is not a proper § 2255 claim. Finally, even if the claim were properly before the Court, no error

has been shown. “A defendant may be convicted of aiding and abetting the offense of possession with

intent to distribute a controlled substance even if he did not have actual or constructive possession of

the substance.” United States v. Gonzales, 121 F.3d 928, 936 (5th Cir. 1997). Maldonado was

correctly held responsible for the three kilograms she possessed, as well as for the two kilograms

possessed by her co-defendant, Gonzalez. See United States v. Delagarza-Villarreal, 141 F.3d 133,

139-40 (5th Cir. 1997); see generally USSG § 1B1.3 (discussing relevant conduct). Notably,

Maldonado was indicted and pleaded guilty to possessing more than five kilograms of marijuana, and,

even at sentencing, admitted knowledge of, and involvement with, all five kilograms of drugs. See S.

TR. at 17-24. Indeed, even her written statement accepting responsibility for her offense states that

she was arrested “with a quantity of cocaine that we were delivering to other persons.” See PSR at



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¶ 7. Thus, her argument that she should have only been held responsible for the three kilograms on her

person is wholly lacking in merit.

C.     Booker Claim

       Maldonado’s second ground for relief is that her sentencing violated the principles set forth

in Booker, and thus she argues that she should be resentenced. Booker does not entitle Maldonado to

relief because it is not retroactively applicable to cases already final on direct review when it was

decided. Thus, Maldonado’s claim based on Booker does not provide a basis for relief.

       1.      Booker Background

       To explain the Court’s conclusions regarding the retroactivity of Booker, some background

regarding both Booker and its predecessor, Blakely v. Washington, 124 S. Ct. 2531 (2004), is

warranted. In Blakely, the Supreme Court held that the trial court’s sentencing of the state defendant

violated his Sixth Amendment right to a jury trial. Specifically, the court held that Apprendi v. New

Jersey, 530 U.S. 466 (2000) and other precedents preclude a judge from utilizing a fact found by him

using a preponderance of the evidence standard, in order to impose more than the maximum sentence

that could be imposed based solely on the facts reflected in the jury verdict or admitted by the

defendant. Blakely, 124 S. Ct. at 2537-38. Blakely involved a defendant sentenced in a Washington

state court pursuant to Washington’s determinate sentencing scheme. See generally id.

       Booker addressed Blakely’s impact on the federal sentencing guidelines, which are applied

in federal criminal cases. Booker consists of two majority decisions. In the first majority opinion,

the Court held that Blakely applied to the federal guidelines. As with the sentencing scheme at issue

in Blakely, the mandatory nature of the federal sentencing guidelines implicated defendants’ Sixth

Amendment rights, because the guidelines can require judges to find facts and sentence defendants to


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more severe sentences than could be imposed based solely on facts found by the jury or admitted in

the plea colloquy. Booker, 125 S. Ct. at 750-51, 756.

        In the second majority opinion, the Supreme Court discussed the remedy to be applied in light

of its first holding. The remedy selected by the majority of the justices was to excise certain portions

of the guidelines (most notably the provision making them mandatory, 18 U.S.C. § 3553(b)(1), and a

provision dealing with appeals from sentencing decisions, 18 U.S.C. § 3742(e)), but to preserve the

scheme as a whole. Booker, 125 S. Ct. at 756-57. As a result, the Court’s decision rendered the

guidelines “effectively advisory.” Id. at 757. The court held, however, that district courts are

required to consider the advisory guideline sentence when sentencing within the statutory ranges set

by Congress. Id.

        For the reasons discussed in the next section of this Order, the Court concludes that relief

under Booker is not available on collateral review to a defendant like Maldonado, whose conviction

became final prior to the date Booker was decided, January 12, 2005.

        2.       Retroactivity Analysis

        Neither of the majority opinions states that Booker should be applied retroactively to

convictions and sentences that are already final. Instead, Justice Breyer’s decision concerning the

proper remedy simply indicates that the Court’s Booker holdings should be applied “to all cases on

direct review.” Booker, 125 S. Ct. at 769 (emphasis added).6

        More pertinent to the issue of Booker and Blakely retroactivity is the Supreme Court’s

decision in Schriro v. Summerlin, 124 S. Ct. 2519 (2004), handed down the same day as Blakely. In



        6
                  The Court recognizes, of course, that retroactivity was not an issue in Booker or its companion
case, Fanfan, both of which came to the Supreme Court as direct criminal appeals. Thus, the quoted language
arguably has no meaning as to Booker’s retroactivity in collateral proceedings.

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Schriro, the Supreme Court was faced with determining whether its decision in Ring v. Arizona, 536

U.S. 584 (2002), could be applied retroactively on collateral review. Ring, like Blakely, applied the

principles of Apprendi. In Ring, the Court held that a jury must find the aggravating facts statutorily

required to impose the death penalty. In Schriro, the Court first concluded that Ring was a new rule

of procedure (as opposed to a substantive rule), and noted the general principle that new rules of

procedure do not apply retroactively. 124 S. Ct. at 2522-23. It then determined that the rule in Ring

did not fall within any of the narrow exceptions to the general principle, as set forth in Teague v. Lane,

489 U.S. 288 (1989), including the exception for “watershed rules of criminal procedure” essential

to the fairness of the proceedings. Schriro, 124 S. Ct. at 2524-25. It concluded, therefore, that “Ring

announced a new procedural rule that does not apply retroactively to cases already final on direct

review.” Schriro, 124 S. Ct. 2526.

        This Court finds the reasoning in Schriro to be persuasive and pertinent here. Like the rule in

Ring, the rule announced in Blakely (and extended to the federal guidelines in Booker) is a new rule

of procedure, but does not fall within any of the Teague exceptions. Accordingly, Blakely and Booker

do not apply retroactively to cases on collateral review.

        The Fifth Circuit has not yet addressed whether Booker is retroactively applicable on initial

collateral review, although it recently held that the Supreme Court has not made Booker retroactive,

for purposes of allowing second or successive petitions under 28 U.S.C. § 2255. In re Elwood, __

F.3d __, 2005 WL 976998 (5th Cir. April 28, 2005). The Second, Third, Sixth, Seventh, and Eleventh

Circuits have all addressed the retroactivity of Booker on initial collateral review, however, and have

reached the same conclusion as the Court does herein. See McReynolds v. United States, 397 F.3d

479 (7th Cir. 2005)(concluding that Booker states a new non-watershed procedural rule and does not



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apply retroactively to criminal cases final before its release); United States v. Humphress, 398 F.3d

855 (6th Cir. 2005)(same); Varela v. United States, 400 F. 3d. 864 (11th Cir. 2005)(same); Guzman

v. United States, 404 F.3d 139 (2d Cir. 2005)(same); Lloyd v. United States, __ F.3d __, 2005 WL

1155220 (3d Cir. May 17, 2005)(same). Similarly, in a post-Booker decision, the Tenth Circuit

rejected a § 2255 movant’s argument that Blakely applies retroactively. United States v. Price, 400

F.3d 844 (10th Cir. 2005). In so doing, the Price court utilized reasoning which would be equally

applicable to Booker. See generally id.

         Because the Court concludes that Booker is not retroactive to cases on collateral review, and

because Maldonado’s conviction became final prior to January 12, 2005, she is not entitled to relief

under Booker.

D.       Ineffective Assistance of Counsel

         Maldonado’s third ground for relief, i.e., her ineffective assistance claim, is properly analyzed

under the two-prong analysis set forth in Strickland v. Washington, 466 U.S. 668 (1984). United

States v. Willis, 273 F.3d 592, 598 (5th Cir. 2001). To prevail on a claim of ineffective assistance

of counsel, a movant must demonstrate that his counsel’s performance was both deficient and

prejudicial. Id. This means that a movant must show that counsel’s performance was outside the

broad range of what is considered reasonable assistance and that this deficient performance led to an

unfair and unreliable conviction and sentence. U.S. v. Dovalina, 262 F.3d 472, 474-75 (5th Cir.

2001).

         If the movant fails to prove one prong, it is not necessary to analyze the other. Armstead v.

Scott, 37 F.3d 202, 210 (5th Cir. 1994) (“A court need not address both components of the inquiry if

the defendant makes an insufficient showing on one”), cert. denied, 514 U.S. 1071 (1995); Carter v.


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Johnson, 131 F.3d 452, 463 (5th Cir. 1997) (“Failure to prove either deficient performance or actual

prejudice is fatal to an ineffective assistance claim.”).

        1.      Failure to Obtain Severance

        Maldonado first challenges her counsel’s failure to seek a severance of the cases between

Maldonado and her sister. (D.E. 68). She apparently believes that if the cases had been “severed,”

she could have only been sentenced based on three kilograms of cocaine, instead of five. Her claim

is without merit. Rule 8(b) of the Federal Rules of Criminal Procedure provides that an indictment

may charge two or more defendants if “they are alleged to have participated in the same series of acts

or transactions, constituting an offense or offenses.” Maldonado and her sister were stopped while

traveling together in the same vehicle, and each was found to be carrying cocaine strapped onto her

person. Clearly, they participated in the same series of acts constituting an offense. Thus, the Court

would not have granted a motion to sever. Maldonado presents no authority for the proposition that

the Court should have severed the cases.

        Moreover, as noted infra at Section IV.B., Maldonado and pleaded guilty to aiding and abetting

her co-defendant in possessing more than five kilograms of marijuana. Even if the case against her

sister had been severed, she still would have been held responsible at sentencing for the amount of

cocaine carried by her sister. Thus, a severance would not have made any difference in the outcome

of her case. She cannot establish prejudice and this claim fails.

        2.      Failure to Challenge the Sufficiency of the Indictment

        Maldonado next claims that her counsel was deficient for failing to challenge the sufficiency

of the indictment. Again, she has not explained nor supported her claim that the indictment was

insufficient. In any event, the Court has reviewed the indictment and finds nothing vague or deficient


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about it. Maldonado thus suffered no prejudice from her counsel’s alleged failure to challenge it, and

the Court need not address this claim further.

       3.      Deficiencies With Regard to the Plea Agreement

       Maldonado claims that her counsel was deficient for failing to “secure” in her plea agreement

a number of benefits, including safety valve relief, no minimum mandatory sentence, and for failing

to ensure that she would be held accountable for only three kilograms. As an initial matter,

Maldonado has presented no evidence that any such offer from the government was ever given. Her

counsel denies that any such plea agreement was ever offered or available. (See D.E. 73, Aff. at 3).

Additionally, as the government notes, the government will not offer, and this Court will not accept,

a plea agreement that would have restricted the Court’s consideration for sentencing of a drug amount

jointly possessed by a co-defendant or a plea agreement that guaranteed acceptance of responsibility

or safety valve before debriefing. It was this Court’s finding that she did not truthfully debrief that

ensured she would receive nothing less than the statutory minimum. There is no evidence to suggest

that she suffered any prejudice based on any deficiencies by counsel.

       4.      Failure to Obtain Evidentiary Hearing

       In her final ground for relief, Maldonado claims her sentencing counsel was ineffective

because he did not seek an evidentiary hearing after the government made clear that it intended to

“subject her” to a mandatory minimum sentence. There was no breach of the plea agreement by the

government warranting an evidentiary hearing. To the contrary, the agreement and the rearraignment

transcript both make clear that Maldonado understood that she was not being promised anything less

than the 10-year mandatory sentence and that the Court would determine whether she would qualify

for safety valve relief or be entitled to a reduction for acceptance of responsibility. (See D.E. 13 at


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¶ 3 (plea agreement); D.E. 60, Rearraignment Transcript at pp. 19-20, 22-23, 25-28).

       In order for Maldonado to show that she suffered prejudice as to any sentencing issues, she

must show that there is a reasonable probability that but for counsel’s alleged errors, the sentencing

would have been different. See United States v. Phillips, 210 F.3d 345, 350 (5th Cir. 2000). Notably,

Maldonado could only receive a lower sentence than the 120 months she received, if she qualified for

safety valve relief or provided substantial assistance. Because this Court did not believe her and did

not believe the story she told to agents when debriefing, she was not entitled to safety valve relief.

The government did not move for substantial assistance, and Maldonado has presented nothing to show

an entitlement to substantial assistance. Thus, there is no evidence to support any contention that, but

for counsel’s alleged errors, Maldonado would have received a different sentence. Because

Maldonado cannot show prejudice as a result of any lack of an evidentiary hearing, this claim fails.

E.     Certificate of Appealability

       An appeal may not be taken to the court of appeals from a final order in a habeas corpus

proceeding “unless a circuit justice or judge issues a certificate of appealability.” 28 U.S.C.

§ 2253(c)(1)(A). Although Maldonado has not yet filed a notice of appeal, this Court nonetheless

addresses whether she would be entitled to a COA. See Alexander v. Johnson, 211 F.3d 895, 898

(5th Cir. 2000) (a district court may sua sponte rule on a COA because “the district court that denies

a petitioner relief is in the best position to determine whether the petitioner has made a substantial

showing of a denial of a constitutional right on the issues before that court. Further briefing and

argument on the very issues the court has just ruled on would be repetitious.”).

       A COA “may issue...only if the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). “The COA determination under § 2253(c) requires an


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overview of the claims in the habeas petition and a general assessment of their merits.” Miller-El v.

Cockrell, 537 U.S. 322, 336 (2003). To warrant a grant of the certificate as to claims denied on their

merits, “[t]he petitioner must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484

(2000). This standard requires a § 2255 movant to demonstrate that reasonable jurists could debate

whether the motion should have been resolved differently, or that the issues presented deserved

encouragement to proceed further. United States v. Jones, 287 F.3d 325, 329 (5th Cir. 2002)(relying

upon Slack, 529 U.S. at 483-84).

          As to claims that the district court rejects solely on procedural grounds, the movant must show

both that “jurists of reason would find it debatable whether the petition states a valid claim of the

denial of a constitutional right and that jurists of reason would find it debatable whether the district

court was correct in its procedural ruling.” Slack, 529 U.S. at 484 (emphasis added).

          The Court concludes that reasonable jurists could not debate the denial of Maldonado’s § 2255

motion on substantive grounds nor find that the issues presented are adequate to deserve

encouragement to proceed. Miller-El, 123 S. Ct. at 1034 (citing Slack, 529 U.S. at 484, 120 S. Ct.

at 1604). Similarly, as to those claims that this Court has addressed on procedural grounds, the Court

finds that Maldonado cannot establish either of the Slack criteria. That is, jurists of reason would not

debate whether she has stated a valid claim of the denial of a constitutional right, nor would they find

this Court’s procedural rulings debatable. Accordingly, Maldonado is not entitled to a COA as to her

claims.




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                                         V. CONCLUSION

       For the above-stated reasons, Maldonado’s motion under 28 U.S.C. § 2255 is DENIED.

The Court also DENIES her a Certificate of Appealability.


       It is so ORDERED this 22nd day of June, 2005.



                                            ____________________________________
                                                       Janis Graham Jack
                                                   United States District Judge




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